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g . g 666 Third Avenue ALBUQUERQUE, NM — HARTFORD, CT MORRISTOWN, NJ} RAPID CITY, SD
a C ks O ni ew) & New York, New York 10017 ATLANTA, GA HONOLULU, HI* NEW ORLEANS, LA RICHMOND, VA
J Tel 242 545-4000 AUSTIN, TX HOUSTON, TX NEW YORK, NY SACRAMENTO, CA
BALTIMORE, MD INDIANAPOLIS, IN NORFOLK, VA SALT LAKE CITY, UT
Attorneys at Law Fax 212 972-3213 BIRMINGHAM, AL JACKSONVILLE, FL OMAHA, NE SAN DIEGO, CA
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My DIRECT DIAL IS: 212-545-4005 DENVER, CO MIAMI, FL PORTSMOUTH, NH WASHINGTON, De REGION
My EMAIL ADDRESS IS: EKELMANF@JACKSONLEWIS.COM DETRON, MI MILWAUKEE, wl PROVIDENCE, RI WHITE PLAINS, NY
GRAND RAPIDS, MI. MINNEAPOLIS, MN

 

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August 15, 2016

VIA ECF & EMAIL
Honorable Katherine Polk Failla
United States District Judge
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007
Re: Zhu et al. v. Hakkasan NYC LLC, et al.
Case No. 16-cy-5589 (KPF)(SN)

Dear Judge Failla:

Our firm represents Defendants Hakkasan NYC LLC and Hakkasan Holdings, LLC in
the above-captioned action. The Parties have agreed, subject to Court approval, to hold the case in
abeyance and engage in settlement negotiations in an attempt to resolve this lawsuit. Without prejudice
to Defendants’ position or right to file a motion to dismiss and/or compel arbitration of this dispute, we
respectfully request that this case be held in abeyance for 60 days. The Parties propose utilizing this 60
day period to engage in limited, informal discovery and settlement negotiations. The requested stay will
permit the Parties to dedicate their resources to trying to resolve the case and may obviate the need for
formal litigation.

The Parties propose submitting a joint status report to the Court on the outcome of their
efforts within 60 days after the Court enters an Order in response to this request. The Parties also
respectfully request that the Initial Pretrial Conference scheduled for October 13, 2016 at 3:30 p.m. be
adjourned until after the Parties submit the aforementioned joint status report.

We appreciate the Court’s attention to this request.

Respectfully submitted,
JACKSON LEWIS P.C.
/s/ Felice B. Ekelman
Felice B. Ekelman

FBE/DJK:tb
ce: All counsel of record (via ECF)

 
